
Richard Woodson was indicted in the circuit superiour court for the county of Henrico and city of Richmond, for felonious stabbing-. The indictment contained two counts. The first count alleged that Richard Woodson, on &amp;c. “ with force and arms, at the said county and city, and within the jurisdiction of the said court, one Park Talley, in the peace of God and the commonwealth, in and upon the left side of the belly of him the said Park *235Talley, and also in and upon the left arm of him the said Park Talley, then and there feloniously, voluntarily, maliciously and of purpose did stab, with intention, in so doing, him the said Park Talley thereby then and there to maim, disfigure, disable and kill, against the form of the statute,” &amp;c. The second count alleged that the said Richard Woodson, afterwards to wit, on &amp;c. “ at the said county and city, and within the jurisdiction aforesaid, with force and arms, one Park Talley, in and upon the left side of the belly of him the said Park Talley, and also in and upon the left arm of him the said Park Talley, then and there feloniously and unlawfully did stab, with intention, in committing the said acts, him the said Park Talley thereby then and there to maim, disfigure, disable and kill, against the form of the statute,” &amp;c. On his arraignment, Woodson moved the court to quash the indictment, upon the following grounds: 1. Because no assault is alleged. 2. Because it is not alleged that the accused struck Talley, in the 'x'indictment named, or that he gave him any wound. 3. Because it is not alleged that the said Talley was in the county of Henrico or city of Richmond, or within the jurisdiction of the court, when the stab was given, and it does not therefore appear that the blow, if stricken, took effect within the jurisdiction of this court. 4. Because it is not alleged that there was a felonious, malicious or unlawful intent to maim, disfigure, disable or kill the said Talley. Whereupon the court, with the consent of the accused, adjourned to the general court the question, whether the indictment ought to be quashed on any of the grounds alleged for quashing the same ?
Eyons, for the accused.
The general court decided, that the indictment ought not to be quashed on any of the grounds alleged for quashing the same.
